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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND
MICHAEL GROSS                            *

       Plaintiff                             *

           vs.                               *       Civil Action No.: 1:17-cv-00718-GLR

GARY BIRCHFIELD, et al.                      *

       Defendants                            *

*      *         *      *     *      *       *       *      *       *      *       *        *
                     CONSENT ORDER MODIFYING SCHEDULING ORDER

       By consent of the parties the Scheduling Order issued on March 20, 2017 is hereby

modified as follows:

                                          DEADLINES

       September 15, 2017:                Discovery deadline; submission of status report

       September 22, 2017:                Requests for admission

       October 20, 2017:                  Dispositive pretrial motions deadline

       All other deadlines in the original Scheduling Order remain unchanged.

Approved as to form and content:

/s/ Keith R. Siskind, Esquire                        /s/ Stephen J. Marshall, Esquire
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                              So approved this ____ day of _______________, 2017


                                                     ____________________________
                                                     George L. Russell, III,
                                                     United States District Judge




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